Case 2:18-cv-14848-CCC-MF Document 1 Filed 10/11/18 Page 1 of 7 PageID: 1



                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


IN RE: PROTON- PUMP INHIBITOR                            MDL NO. 2789
PRODUCTS LIABILITY LITGATION                             Case No.: 2:17-md-2789
(NO. II)                                                 (CCC)(MF)

This Document Relates to:                                COMPLAINT AND JURY
                                                         DEMAND
JOHN MAXWELL

                     Plaintiff(s),                       DIRECT FILED ACTION

               v.
                                                         Case Management Order No. 7
ASTRAZENECA LP; ASTRAZENECA                              Matter
PHARMACEUTICALS LP; PFIZER, INC.;
TAKEDA PHARMACEUTICALS
AMERICA, INC.; TAKEDA
PHARMACEUTICALS COMPANY
LIMITED; TAKEDA
PHARMACEUTICALS U.S.A. INC,

                     Defendants.




                SHORT FORM COMPLAINT AND JURY DEMAND

       The Plaintiff(s) n a m e d b e l o w file(s) this Short Form Complaint and

Demand for Jury Trial against Defendants named below by and through their undersigned

counsel and as permitted by Case Management Order No. 7. Plaintiff(s) incorporate(s) by

reference the allegations contained in Plaintiffs’ Master Long Form Complaint and Jury

Demand in In re: Proton-Pump Inhibitor Products Liability Litigation, MDL 2789, in the

United States District Court for the District of New Jersey pursuant to Case Management

Order No. 7.
Case 2:18-cv-14848-CCC-MF Document 1 Filed 10/11/18 Page 2 of 7 PageID: 2



       In addition to those causes of action contained in Plaintiffs’ Master Long Form

Complaint and Jury Demand, where certain claims require specific pleadings and/or

amendments, Plaintiff(s) shall add and include them herein.

                               IDENTIFICATION OF PARTIES

Identification of Plaintiff(s)

1.     Name of individual injured/deceased due to the use of PPI Product(s):

       John Maxwell.

2.     Consortium Claim(s): The following individual(s) allege damages for loss of

consortium:              N/A         .

3.     Survival and/or Wrongful Death Claims:

         a. Plaintiff,         N/A       , is filing this case in a representative capacity as the

              N/A         of the Estate of      N/A         , deceased.

         b. Survival Claim(s): The following individual(s) allege damages for survival

              claims, as permitted under applicable state laws:           N/A       .

4.     As a result of using PPI Products, Plaintiff/Decedent suffered pain and suffering,

emotional distress, mental anguish, and personal and economic injur(ies) that are alleged to

have been caused by the use of the PPI Products identified in Paragraph 10, below, but not

limited to the following:

                         injury to herself/himself
                         injury to the person represented
                         wrongful death
                         survivorship action
                         economic loss
                         loss of services
                         loss of consortium
                         other:

Identification of Defendants
Case 2:18-cv-14848-CCC-MF Document 1 Filed 10/11/18 Page 3 of 7 PageID: 3



5.        Plaintiff(s)/Decedent is/are suing the following Defendant(s) (please check all that

apply):

                 Abbott Laboratories

                 AstraZeneca LP

                 AstraZeneca Pharmaceuticals LP

                 AstraZeneca PLC

                 GlaxoSmithKline Consumer Healthcare Holdings (US) LLC

                 Merck & Co. Inc. d/b/a Merck, Sharp & Dohme Corporation

                 Novartis Corporation

                 Novartis Pharmaceutical Corporation

                 Novartis Vaccines and Diagnostics, Inc.

                 Novartis Institutes for Biomedical Research, Inc.

                 Novartis Consumer Health, Inc.

                 Pfizer, Inc.

                 The Procter & Gamble Company

                 Procter & Gamble Manufacturing Company

                 Takeda Pharmaceuticals USA, Inc.

                 Takeda Pharmaceuticals America, Inc.

                 Takeda Development Center Americas, Inc. f/k/a Takeda Global         Research
                 & Development Center, Inc.

                 Takeda Pharmaceutical Company Limited

                 Other(s) Defendant(s) (please identify):

                 _________________________________________________________
Case 2:18-cv-14848-CCC-MF Document 1 Filed 10/11/18 Page 4 of 7 PageID: 4



                                  JURISDICTION & VENUE

Jurisdiction:

6.       Jurisdiction in this Short Form Complaint is based on:

                  Diversity of Citizenship

                  Other (The basis of any additional ground for jurisdiction must be pled in

                  sufficient detail as required by the applicable Federal Rules of Civil

                  Procedure).



Venue:

 7.         District Court(s) in which venue was proper where you might have otherwise filed

     this Short Form Complaint absent Case Management Order No. 7 entered by this Court

       and/or to where remand could be ordered: North Carolina Western District Court.



                                 CASE SPECIFIC FACTS

8.       Plaintiff(s) currently reside(s) in (City, State): Hendersonville, NC.

9.       To the best of Plaintiff’s knowledge, Plaintiff/Decedent used PPI Product(s) during

the following time period: Approximately 12/17/2003 - 1/3/2012.

10.      Plaintiff/Decedent used the following PPI Products, for which claims are being

asserted:

                  Dexilant

                  Nexium

                  Nexium 24HR

                  Prevacid

                  Prevacid 24HR
Case 2:18-cv-14848-CCC-MF Document 1 Filed 10/11/18 Page 5 of 7 PageID: 5



               Prilosec

               Prilosec OTC

               Protonix

               Other (List All): _________________________________

11.    The injuries suffered by Plaintiff/Decedent as a result of the use of PPI Products

include, among others that will be set forth in Plaintiff’s discovery responses and medical

records:

               Acute Interstitial Nephritis (AIN)

               Acute Kidney Injury (AKI)

               Chronic Kidney Disease (CKD)

               End Stage Renal Disease (ESRD)

               Dialysis

               Death

               Renal Failure

               Other(s) (please specify): ________________________________________

12.    At the time of the Plaintiff’s/Decedent’s diagnosis of injury, Plaintiff/Decedent

resided in (City, State): Hendersonville, NC.

                                   CAUSES OF ACTION

13.    Plaintiff(s), again, hereby adopt(s) and incorporate(s) by reference the Master

Long Form Complaint and Jury Demand as if fully set forth herein.

14.    The following claims and allegations asserted in the Master Long Form

Complaint and Jury Demand are herein more specifically adopted and incorporated by

reference by Plaintiff(s) please check all that apply):

               Count I: Strict Product Liability
Case 2:18-cv-14848-CCC-MF Document 1 Filed 10/11/18 Page 6 of 7 PageID: 6



            Count II: Strict Product Liability – Design Defect

            Count III: Strict Product Liability – Failure to Warn

            Count IV: Negligence

            Count V: Negligence Per Se

            Count VI: Breach of Express Warranty

            Count VII: Breach of Implied Warranty

            Count VIII: Negligent Misrepresentation

            Count IX: Fraud and Fraudulent Misrepresentation

            Count X: Fraudulent Concealment

            Count XI: Violation of State Consumer Protection Laws of the State(s) of:
            North Carolina.

            Count XII: Loss of Consortium

            Count XIII: Wrongful Death

            Count XIV: Survival Action

            Furthermore, Plaintiff(s) assert(s) the following additional theories and/or

            Causes of Action against Defendant(s) identified in Paragraph five (5)

            above. If Plaintiff(s) includes additional theories of recovery, to the extent

            they require specificity in pleadings, the specific facts and allegations

            supporting these theories must be pled by Plaintiff(s) in a manner complying

            with the requirements of the Federal Rules of Civil Procedure:

      ___________________________________________________________________

      ___________________________________________________________________

      ___________________________________________________________________

      ___________________________________________________________________
Case 2:18-cv-14848-CCC-MF Document 1 Filed 10/11/18 Page 7 of 7 PageID: 7




       WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants of

compensatory damages, punitive damages, interest, costs of suit and such further relief as

the Court deems equitable and just, and as set forth in the Master Long Form Complaint

and Jury Demand, as appropriate.

                                      JURY DEMAND

       Plaintiff(s) hereby demand a trial by jury as to all claims in this action.


Dated: October 11, 2018

                                               Respectfully Submitted,

                                               NAPOLI SHKOLNIK, PLLC

                                               /s/ Christopher R. LoPalo
                                               Christopher R. LoPalo, Esq.
                                               400 Broadhollow Road, Suite 305
                                               Melville, New York 11747
                                               T: (212) 397-1000
                                               F: (646) 927-1676
                                               CloPalo@NapoliLaw.com

                                               Attorneys for Plaintiff
